 Case 5:22-cv-00093-H Document 13 Filed 08/29/22                    Page 1 of 1 PageID 109


                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    LUBBOCK I]iV]STON

U.S. BANK NATIONAL ASSOCIATION.
not in its individual capaciry but solely as
trustee for the RMAC TRUST, SERIES
                                                    I




2016-cTT.                                           I


                                                    l




            Plaintifl                                             No. 5:22-CV-093-H
                                                    I




GLORIA HELLER, et a1.,

            Defendants

                                               NOTICE

         Before the Court is the Plaintiffs Motion for Enuy of Agreed Partial Judgment. Dkr.

No. 10. The plaintlffand three of four named defendants appear to "have now reached an

agreement to resolve this dispute" between them, and the plaintiffasks the Court to enter rts

Agreed Partial Judgment bearing those defendants' signatures. Dkt. Nos. i0 at 1; 10-1 at4.

As the proposed partial judgment recognizes, the plaintiffs "claims against Gloria He11er

remain pending." Dkt. No. 10-1 at 3.

         To avoid the possibility ofrendering inconsistent judgments       as to the parties'

interests   il   the property at issue, the Court provides this notice to inform the paties thar   it

intends to delay resolution of the Motion for Entry of Agreed Partial Judgment (Dkt. No.

10)   until the remaining defendant's potential interest is adjudicated or otherwise resolved by

similar agreement.

         So ordered     on Argust?4 ,2022


                                                        J       WESLEY HENDRIX
                                                        UN     ED STATES DISTRICT JUDGE
